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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 18-cv-02807-PAB-SKC

  ALEXANDER HOOD, on behalf of himself and all similarly situated persons,

        Plaintiff,
  v.

  AMERICAN AUTO CARE, LLC, a Florida limited liability company,
  BEACON FINANCIAL SOLUTIONS, LLC, a Florida limited liability company,
  JESSIE BRITT, an individual,
  KYLIE BRITT, an individual,
  DAVID GLENWINKEL, an individual,
  ROYAL ADMINISTRATION SERVICES, INC., a Florida corporation,
  CARGUARD ADMINISTRATION, INC., a Kansas corporation,
  MATRIX WARRANTY SOLUTIONS, INC., d/b/a Element Protection Plans, a Nevada
  corporation, and
  EGV COMPANIES, INC., d/b/a Omega Auto Care, a Delaware corporation,

        Defendants.


                                    FINAL JUDGMENT


        In accordance with the orders filed during the pendency of this case, and

  pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

        Pursuant to the Order [Docket No. 90] of Chief United States District Judge Philip

  A. Brimmer entered on March 23, 2020, it is

        ORDERED that the AAC Defendants’ Rule 12(b)(2) Motion to Dismiss [Docket

  No. 57] is GRANTED IN PART and DENIED IN PART. It is further

        ORDERED that Defendant Matrix Warranty Solutions, Inc.’s Motion to Dismiss

  Under 12(b)(6) for Failure to State A Claim & 12(b)(2) for Lack of Personal Jurisdiction

  [Docket No. 71] is GRANTED IN PART and DENIED IN PART. It is further

        ORDERED that plaintiff’s claim is DISMISSED WITHOUT PREJUDICE for lack
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  of personal jurisdiction. It is further

          ORDERED that judgment is entered in favor of defendants and against plaintiff.

  It is further

          ORDERED that defendants are awarded their costs, to be taxed by the Clerk of

  the Court pursuant to Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1. It is further

          ORDERED that this case is closed.

          Dated at Denver, Colorado this 23rd day of March, 2020.

                                                  FOR THE COURT:

                                                  Jeffrey P. Colwell, Clerk


                                                  By s/ S. Grimm
                                                            Deputy Clerk




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